Case 17-68562-lrc       Doc 20      Filed 03/12/18 Entered 03/12/18 09:17:44             Desc Main
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                      IN THE UNITED STATES BANKRUPTCY COURT
                                     Northern District Of Georgia
                                     In RE: In Proceedings Under
                                               17-68562



                                             Debtor(s)
                                           Cheyenne Wiler



                                   WITHDRAWAL OF CLAIM
                Please withdraw court claim number(s) #6 in the amount of $ 1,250.32.



                                         /s/ LeoAnn Shannon
                                           Claim Processor




                                   Creditor Name & Address
                                     Pinnacle Credit Services, LLC
                                    c/o Resurgent Capital Services
                                            PO Box 10587
                                      Greenville, SC 29603-0587




                                       Dated:March 12, 2018




55 Beattie Place, Ste 110, MS 127 | Greenville, South Carolina 29601 | Telephone: 864-248-8866
